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                       Exhibit B
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    [illegible]                                           [symbol]

    Signature [signature]

                               In the Supreme Court sitting as a Court of Civil Appeals

                                                                                                            CA 8848/20

     Before:                                               The Honorable O. Grosskopf
     The Appellant:                                        B.I. Science (2009) Ltd.
                                                           vs.
     The Respondent:                                       Luminati Networks Ltd.
                                                           Petition for a stay in executing the judgment of the District
                                                           Court of Tel Aviv-Yafo in the opening motion for arbitration
                                                           62712-05-20 dated November 29, 2020 issued by the
                                                           honorable Y. Shevach, Vice President of the Court
     In the name of the Appellant:                         Asaf Biger and Niran Dor, Attorneys at law


                                                                 Decision

         1. The Respondent must respond to the petition for a stay of execution by Sunday
            December 27, 2020 with the length of the response not to exceed 7 pages.

         2. A temporary order of stay of the judgement of the previous court is issued until another
            decision is issued. As long as the temporary order remains valid, the provisions
            determined by the previous court in Paragraph 10 of its decision dated July 22, 2020 will
            continue to apply.



                         Issued today, 2 Tivet 5781 (December 17, 2020)

                                                                                      [signature O. Grosskopf]
                                                                                      Judge



    _________
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    Information Center Tel: 077-2703333 Internet site: http://supreme.court.gov.il
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    I, Stephen Rifkind, Israeli ID No. 303694053, residing at Tavor 2/2, Karmiel Israel, a

    “Recognized Translator” by the Israeli Translators Association and a member of the ATA

    (US) and SFT (France), hererby declare that the foregoing translation in English is a

    faithful translation of the original one page document in Hebrew.

    Karmiel, December 24, 2020



    Stephen Rikkind
